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DEFENDANT INFORMATION SHEET CR A . | “ Ue! Dy

TO: Clerk, U.S. District Court X | Felony | Class A Misdemeanor

DEFENDANT: Robert Hunter Biden | Indictment X Information

DOB (Year Only): 1970 COUNTY OF OFFENSE: New Castle

OFFENSE(S) & CITATION(S): MAXIMUM PENALTY:

Possession of a firearm by a person who is an unlawful user of or addicted to ; 10 years of imprisonment; a fine of $250,000; 3 years of supervised release; a
a controlled substance, 18 U.S.C. §§ 922(g)(3) and 924(a)(2) (2018) special assessment of $100

INSTRUCTIONS

| Order to Produce for Arraignment on: at 1:00 p.m.

| Issue Arrest Warrant upon signing of Order

X | Issue Summons for Initial Appearance on: at

Interpreter Needed Language

DEFENDANT INFORMATION

Defendant’s Address:

City: Malibu County: Los Angeles State: California Zip: 90265
Date of Arrest: Date of 1* Appearance in this District:
Bail Set: Date Made: Remains in Federal Custody
A bins Digitally signed by LEO
—H,/ 4 Wise
FILED By ee
Leo J. Wise
Derek E. Hines
JUN 20 2023 Special Assistant United States Attorneys

Benjamin L. Wallace
Assistant United States Attorney
